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Reno, NV 89513
Telephone: (775) 324-2500 PPE Ths

BoP na
POPU GREAT. Jb

WILLIAM A. VAN METER, ESO. CECEEVEO AMD Finer
Nevada State Bar No. 2803 EE tet
P. O. Box 6630 QSRED 29 Fy 2ikg

 
 

 

Chapter 13 Trustee
UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA

In re: CASE NO. BK-N-04-53389
CAROL TILTON, Chapter 13

NOTICE OF UNCLAIMED FUNDS
PURSUANT TO RULE 3011

 

 

 

Debtor(s).
/
TO: CLERK, UNITED STATES BANKRUPTCY COURT
FROM: WILLIAM A. VAN METER, CHAPTER 13 STANDING TRUSTEE

Pursuant to 11 U.S.C. 8347 and Fed.R.Bankr.P3011, the
following unclaimed funds are being forwarded to you to be
deposited in the registry of the United States Bankruptcy Court.
These funds can be withdrawn as provided in Chapter 129, Title 28,
Section 2042.

Debtor Debtors Name
Refund and Address CAS 10600 CAS 61330
Carol V. Tilton s $1276.00

29 Cabernet Parkway
Reno, NV 89512

TOTALS $ $1276.00

Dated: Ly

 

ee DN Trustee

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Note: Title 28, Chapter 129, Section 2042 allows for the withdrawal of dividends

that have been deposited into the registry account. Make check payable to Clerk,
U.S. Bankruptcy Court.

Note: Claims that are $25.00 or less go into CAS 10600. Claims that are more
than $25.00 go into CAS 61330. The amounts that are to be deposited into the
registry can be written on one check.
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CERTIFICATE OF SERVICE

 

Pursuant to Fed.R.Bankr.P.9014, 7004 and
Fed.Civ.P.4(g), I, Beatrice E. Meyers, hereby swear under
penalty of perjury that I am over the age of 18, not a party to
the within action, and that on December 28, 2005 I served the
NOTICE OF UNCLAIMED FUNDS PURSUANT TO RULE 3011, filed by
William A. Van Meter, Trustee, by mailing a copy thereof by

first class mail, postage prepaid to:

Carol V. Tilton
29 Cabernet Parkway
Reno, NV 89512

Kenneth Ward, Esq.
P.O. Box 2500
Fernley, NV 989408

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Dated this #Y/7% day of Mitcen. bir ' 200.

Bin line E Vien

Beatrice E. Meyers
